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 6                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 7                                   AT SEATTLE
 8
      UNITED STATES OF AMERICA,
 9                                                     CASE NO. CR04-301-MJP

10
              Plaintiff,                               SUMMARY REPORT OF U.S.
11                                                     MAGISTRATE JUDGE
                 v.                                    AS TO ALLEGED VIOLATIONS
12                                                     OF SUPERVISED RELEASE
      RICHARD RODMAN,
13
              Defendant.
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16                                       INTRODUCTION

17        I conducted a hearing on alleged violations of supervised release in this case on July

18   30, 2007. The United States was represented by James Lord. The defendant was

19   represented by Robert Goldsmith.

20                               CONVICTION AND SENTENCE

21        Defendant had been convicted of Conspiracy to Distribute Cocaine on or about July

22   28, 2005. The Hon. Marsha J. Pechman of this court sentenced Defendant to 12 months

23   and 1 day of confinement, followed by three years of supervised release. The original

24   sentence was revoked following a violation of supervised release by defendant. The Court

25   imposed a term of 12 months and 1 day custody and 24 months of supervised release, less

26   time served. Mr. Rodman’s current term of supervised release began on May 3, 2007 and

27   the defendant was transferred to the District of Idaho to serve under the supervision of that

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 1   district. The conditions of supervised release included requirements that defendant comply
 2   with the standard 13 conditions.
 3                                  DEFENDANT'S ADMISSION
 4           USPO Christopher Luscher alleged that Defendant violated the conditions of
 5   supervised release in the following respects:
 6           (1)   Committing the crime of driving under the influence of alcohol, on or about
 7                 May 8 and 12, 2007, in violation of the mandatory condition that he not
 8                 commit another federal, state, or local crime.
 9           (2)   Failing to notify the probation officer within 72 hours of being arrested or
10                 questioned by a law enforcement officer, on or before May 11 and 15, 2007,
11                 in violation of standard condition No. 11.
12           (3)   Failing to notify the probation officer at least ten days prior to a change in
13                 residence, on or before June 6, 2007, in violation of standard condition No. 6.
14           (4)   Failing to notify the probation officer at least ten days prior to a change in
15                 employment, on or before June 6, 2007, in violation of standard condition No.
16                 6.
17           (5)   Failing to comply with urinalysis testing, as of May 12, 2007, in violation of
18                 the special condition requiring him to participate in a program for treatment
19                 of narcotic addition and drug dependency, which may include urinalysis
20                 testing, at the direction of the probation officer.
21   I advised the defendant of these charges and of his constitutional rights. Defendant
22   admitted violation nos. 3, 4, and 5, and waived any hearing as to whether they occurred.
23   The Government moved to dismiss violation no. 1, and to modify violation no. 2, by
24   removal of the May 11 charge, to which the defendant then admitted. The parties agreed
25   to have the matter set for a disposition hearing before the Hon. Marsha J. Pechman.
26   //
27   //
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 1                    RECOMMENDED FINDINGS AND CONCLUSIONS
 2        Based upon the foregoing, I recommend the court find that Defendant has violated the
 3   conditions of his supervised release as alleged and set the matter for a disposition hearing.
 4        Defendant has been detained pending a final determination by the Court.
 5        DATED this 31st day of July, 2007.



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 8                                                    MONICA J. BENTON
 9                                                    United States Magistrate Judge
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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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